Case: 1:17-md-02804-DAP Doc #: 1964-93 Filed: 07/23/19 1 of 3. PageID #: 166605




                              EXHIBIT 305
Case: 1:17-md-02804-DAP Doc #: 1964-93 Filed: 07/23/19 2 of 3. PageID #: 166606


                                                                          PSl-1007.1


                                                                         PS/ - Harbauer
                        PRESCRIPTION SUPPLY, INC.
                                                                             Exhibit
                                                                               4
                                                                      207776-CAK   2/19/2019




                                            Confidential Subject to Protective OrderPSI0000653
Case: 1:17-md-02804-DAP Doc #: 1964-93 Filed: 07/23/19 3 of 3. PageID #: 166607


                                                                      PSI-1007.2




                                          Confidential Subject to Protective OrderPS10000654
